Case 2:15-ml-02668-PSG-SK Document 1221 Filed 02/09/24 Page 1 of 6 Page ID #:45437



    1    Marc M. Seltzer (54534)                   Howard Langer (Pro Hac Vice)
         mseltzer@susmangodfrey.com                hlanger@langergrogan.com
    2    SUSMAN GODFREY L.L.P.                     LANGER GROGAN AND DIVER PC
         1900 Avenue of the Stars, Suite 1400      1717 Arch Street, Suite 4020
    3    Los Angeles, CA 90067-6029                Philadelphia, PA 19103
         Phone: (310) 789-3100                     Tel: (215) 320-5660
    4    Fax: (310) 789-3150                       Fax: (215) 320-5703
    5    Scott Martin (Pro Hac Vice)
         smartin@hausfeld.com
    6    HAUSFELD LLP
         33 Whitehall Street, 14th Floor
    7    New York, NY 10004
         Tel: (646) 357-1100
    8    Fax: (212) 202-4322
    9
         [Additional Counsel on Signature Page]
   10
         Plaintiffs’ Co-Lead Counsel
   11

   12
                             UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                  REPLY MEMORANDUM IN
   17   THIS DOCUMENT RELATES TO                  SUPPORT OF PLAINTIFFS’
        ALL ACTIONS                               MOTION IN LIMINE NO. 3 TO
   18                                             EXCLUDE IRRELEVANT AND
                                                  PREJUDICIAL EVIDENCE UNDER
   19                                             RULES 402 AND 403
   20                                             JUDGE: Hon. Philip S. Gutierrez
                                                  DATE: May 17, 2024
   21                                             TIME: 2:30 p.m.
                                                  COURTROOM:
   22                                              First Street Courthouse
                                                   350 West 1st Street
   23                                              Courtroom 6A
                                                   Los Angeles, CA 90012
   24

   25

   26

   27

   28
Case 2:15-ml-02668-PSG-SK Document 1221 Filed 02/09/24 Page 2 of 6 Page ID #:45438



    1         Plaintiffs’ Motion in Limine No. 3 seeks to preclude the NFL Defendants from
    2   arguing to the jury or presenting evidence to show that NFL Sunday Ticket is a
    3   “luxury” good, or characterizing the product in any other manner that implies that it
    4   is somehow undeserving of protection under the antitrust laws.1 The NFL
    5   Defendants’ opposition is not responsive to that motion or to the concerns of unfair
    6   prejudice and jury confusion that underlie it.
    7         Instead, the NFL Defendants sidestep the issue by defining “luxury” as
    8   synonymous with expensive or high-value, contrary to that word’s ordinary meaning.
    9   Plaintiffs do not dispute that NFL Sunday Ticket is expensive. Nor do they seek to
   10   preclude evidence or argument about the actual prices charged for it. This is an
   11   overcharge case, and Plaintiffs contend that the NFL Defendants’ conduct had the
   12   purpose and effect of raising and maintaining the price of NFL Sunday Ticket higher
   13   than it would have been in the absence of the NFL Defendants’ collusion. The NFL
   14   Defendants’ characterizations of that product have no bearing on whether their
   15   conduct restrained competition and raised prices. Nor is the supposed luxury nature
   16   of NFL Sunday Ticket relevant to the reasonableness of that conduct,
   17   notwithstanding the NFL Defendants’ attempt to shoehorn “luxury” as a competitive
   18   justification for the restraints that make NFL Sunday Ticket expensive and difficult
   19   to access in the first place. By using the term “luxury,” the NFL Defendants will
   20   evidently seek to mislead the jury into thinking that overcharging for Sunday Ticket
   21   was not objectionable because Sunday Ticket was not a necessity of life.
   22         The term “luxury” is both irrelevant to the case under the rule of reason and
   23   prejudicial to Plaintiffs. Because the NFL Defendants have offered no reason why
   24   this characterization is admissible on any grounds, Plaintiffs’ motion should be
   25   granted.
   26

   27   1
         Plaintiffs agree with the NFL Defendants that both parties should be precluded from
        making at trial any statement or argument, or otherwise presenting or eliciting any
   28   evidence or testimony concerning the absence of DirecTV, Fox, or CBS as
        defendants at trial. Opp. at 4-5.
                                                   1
Case 2:15-ml-02668-PSG-SK Document 1221 Filed 02/09/24 Page 3 of 6 Page ID #:45439



    1   I.    The NFL Defendants Mischaracterize the Connotations of Luxury.
    2         The NFL Defendants’ opposition confuses the irrelevant concept of luxury
    3   with other adjectives like “high-value,” “complement[ary],” “innovative,” “high-
    4   quality” and even “expensive.” See Opp. at 1-2. But granting Plaintiffs’ motion
    5   would not prevent the NFL Defendants from arguing to the jury that NFL Sunday
    6   Ticket is any of these things. Nor will it impede the NFL Defendants from presenting
    7   evidence “about how [they] and their Television Partners created and marketed the
    8   Sunday Ticket package,” namely as “a complementary premium product for avid
    9   fans.” See Dkt. 1155 at 9. Those concepts are not equivalent to “luxury,”
   10   nor do they have the same problematic connotations.
   11         The term “luxury” conveys the impression of a needless good about which no
   12   one can complain if it carries a high price and implies an extravagance or indulgence.
   13   The dictionary definition of “luxury” is “something adding to pleasure or comfort but
   14   not absolutely necessary.” Merriam-Webster (2022). “Luxury goods or services”
   15   under the bankruptcy statute, 11 U.S.C. § 523(a), are similarly defined to mean
   16   “extravagant, indulgent, and nonessential under the circumstances” In re Alexo, 436
   17   B.R. 44, 49 (Bankr. N.D. Ohio 2010); see also In re Shaw, 294 B.R. 652, 655 (Bankr.
   18   W.D. Pa. 2003) (“[L]uxuries within the meaning of § 523(a)(2)(C), as a matter of
   19   law, are limited to things that constitute extravagances or self-indulgences”).
   20         The loaded nature of “luxury”—and equivalent concepts—is what makes the
   21   characterization problematic. Cooper v. Meritor, Inc., cited by the NFL Defendants,
   22   supports that proposition. 2019 WL 1028530, at *9 (N.D. Miss. Mar. 4, 2019). The
   23   Cooper court permitted reference to “hazardous waste” even though the legal
   24   definition of that term did not go into effect until midway through the liability period
   25   because the phrase’s common meaning would be accessible to the jury. Id. Crucially,
   26   however, the court indicated that it would exclude the term or provide a limiting
   27   instruction if the term “appears to be confusing or unduly prejudicial.” Id.
   28

                                                   2
Case 2:15-ml-02668-PSG-SK Document 1221 Filed 02/09/24 Page 4 of 6 Page ID #:45440



    1            Both concerns are present here. The term “luxury” has connotations that may
    2   mislead or confuse the jury. Framing out-of-market games as an extravagance may
    3   lead the jury to believe that that the harm suffered by class members is something
    4   about which they have no right to complain.
    5            Because there is no connection between Sunday Ticket’s asserted luxury status
    6   and the NFL Defendants’ liability under the antitrust laws, the danger of that
    7   prejudice substantially outweighs the probative value of such a characterization. Fed.
    8   R. Evid. 403.
    9   II.      The NFL Defendants Mischaracterize the Rule of Reason.
   10            Unable to explain why “luxury” is relevant to this case, the NFL Defendants
   11   try to portray that characterization as a procompetitive justification. That makes no
   12   sense.
   13            The NFL Defendants’ own characterization of the Sunday Ticket product is
   14   irrelevant to the rule-of-reason analysis. Calling NFL Sunday Ticket a luxury good
   15   cannot possibly justify NFL Defendants’ anticompetitive web of agreements, nor can
   16   it justify the high prices that class members were forced to pay to watch out-of-market
   17   games. Under the rule of reason, the issue is not “whether it was reasonable for the
   18   Sunday Ticket package to be priced as a high-quality, premium subscription sports
   19   offering for the NFL’s avid fans,” Opp. at 1 (emphasis added), or as a luxury good.
   20   The pertinent issue for the jury is whether the contractual restraints—namely
   21   preventing competition for game telecasts—were reasonable. Likewise, the jury will
   22   not be asked to determine the reasonableness of the prices paid by class members, as
   23   if they were being asked to set a “fair price” for the product, but rather whether the
   24   actual prices were higher than they would have been absent the challenged restraints.
   25            Characterizing NFL Sunday Ticket as a luxury cannot be a legitimate
   26   procompetitive justification for the NFL Defendants’ conduct. A procompetitive
   27   justification (or rationale) is “a [1] nonpretextual claim that [the defendant’s] conduct
   28   is [2] indeed a form of competition on the merits because it involves, for example,
                                                    3
Case 2:15-ml-02668-PSG-SK Document 1221 Filed 02/09/24 Page 5 of 6 Page ID #:45441



    1   greater efficiency or enhanced consumer appeal.” Epic Games, Inc. v. Apple, Inc., 67
    2   F.4th 946, 986 (9th Cir. 2023). The NFL Defendants fail to explain how luxury relates
    3   to either greater efficiency or enhanced consumer appeal. Nor do they explain which
    4   of their various procompetitive justifications is relevant to the luxury nature of
    5   Sunday Ticket. That is because there is none.
    6         Plaintiffs’ motion to preclude NFL Defendants from making any statement or
    7   argument at trial that refers to Sunday Ticket as a “luxury good” or some other similar
    8   term should be granted.
    9

   10   Dated: February 9, 2024                Respectfully submitted,
   11

   12                                          By: /s/ Marc M. Seltzer

   13                                          Marc M. Seltzer (54534)
                                               mseltzer@susmangodfrey.com
   14                                          Kalpana Srinivasan (237460)
                                               ksrinivasan@susmangodfrey.com
   15                                          Amanda Bonn (270891)
                                               abonn@susmangodfrey.com
   16                                          SUSMAN GODFREY L.L.P.
                                               1900 Avenue of the Stars, Suite 1400
   17                                          Los Angeles, CA 90067
                                               Tel: (310) 789-3100
   18                                          Fax: (310) 789-3150

   19                                          William C. Carmody (Pro Hac Vice)
                                               bcarmody@susmangodfrey.com
   20                                          Seth Ard (Pro Hac Vice)
                                               sard@susmangodfrey.com
   21                                          Tyler Finn (Pro Hac Vice)
                                               tfinn@susmangodfrey.com
   22                                          SUSMAN GODFREY L.L.P
                                               1301 Avenue of the Americas, 32nd Fl.
   23                                          New York, NY 10019
                                               Tel: (212) 336-8330
   24                                          Fax: (212) 336-8340

   25                                           Ian M. Gore (Pro Hac Vice)
                                                igore@susmangodfrey.com
   26                                           SUSMAN GODFREY L.L.P.
                                                401 Union Street, Suite 3000
   27                                           Seattle, WA 98101
                                                Tel: (206) 505-3841
   28                                           Fax: (206) 516-3883

                                                   4
Case 2:15-ml-02668-PSG-SK Document 1221 Filed 02/09/24 Page 6 of 6 Page ID #:45442


                                           Scott Martin (Pro Hac Vice)
    1                                      smartin@hausfeld.com
                                           HAUSFELD LLP
    2                                      33 Whitehall Street, 14th Floor
                                           New York, NY 10004
    3                                      Tel: (646) 357-1100
                                           Fax: (212) 202-4322
    4
                                           Christopher L. Lebsock (184546)
    5                                      clebsock@hausfeld.com
                                           Samuel Maida (333835)
    6                                      smaida@hausfeld.com
                                           HAUSFELD LLP
    7                                      600 Montgomery St., Suite 3200
                                           San Francisco, CA 94111
    8                                      Tel: (415) 633-1908
                                           Fax: (415) 633-4980
    9
                                           Sathya S. Gosselin (269171)
   10                                      sgosselin@hausfeld.com
                                           Farhad Mirzadeh (Pro Hac Vice)
   11                                      fmirzadeh@hausfeld.com
                                           HAUSFELD LLP
   12                                      888 16th Street, N.W., Suite 300
                                           Washington, DC 20006
   13                                      Tel: (202) 540-7200
                                           Fax: (202) 540-7201
   14
                                           Howard Langer (Pro Hac Vice)
   15                                      hlanger@langergrogan.com
   16
                                           Edward Diver (Pro Hac Vice)
                                           ndiver@langergrogan.com
   17                                      Peter Leckman (235721)
                                           pleckman@langergrogan.com
   18                                      Kevin Trainer (Pro Hac Vice)
                                           ktrainer@langergrogan.com
   19                                      LANGER GROGAN AND DIVER PC
                                           1717 Arch Street, Suite 4020
   20                                      Philadelphia, PA 19103
                                           Tel: (215) 320-5660
   21                                      Fax: (215) 320-5703

   22                                      Plaintiffs’ Co-Lead Counsel
   23

   24

   25

   26

   27

   28

                                              5
